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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,

                        Plaintiffs,                                        8:18CR110

        vs.
                                                                            ORDER
JORDAN DEROCKBRAINE,

                        Defendant.


       This matter comes before the Court on Defendant Jordan Derockbraine’s Motion to Sever
(Filing No. 57) and Motion for Reconsideration (Filing No. 59). The government did not file any
brief in response to the motions by the deadline of January 22, 2019, and therefore the motions are
now fully submitted. For the following reasons, Defendant’s motions will be denied.


                                           DISCUSSION
       I.      Motion to Sever
       Defendant and his co-defendant, Jesus Pinela-Castillo, are charged in the Indictment with
one count of conspiracy to distribute and possess with intent to distribute a mixture or substance
containing methamphetamine. (Filing No. 1). Defendant argues that his trial should be severed
from that of Pinela-Catillo’s trial to avoid prejudice. (Filing No. 58).


       Rule 8(a) of the Federal Rules of Criminal Procedure permits the government to charge
multiple counts in a single indictment if “the offenses are of the same or similar character, based
on the same act or transaction, or are parts of a common scheme or plan.” United States v. Steele,
550 F.3d 693, 702 (8th Cir. 2008). Rule 8(b) allows the government to charge two or more
defendants in an indictment if the defendants “are alleged to have participated in the same act or
transaction, or in the same series of acts or transactions, constituting an offense or offenses.” Fed.
R. Crim. P. 8(b). Rule 8 “is broadly construed in favor of joinder to promote the efficient
administration of justice.” United States v. Taken Alive, 513 F.3d 899, 902 (8th Cir. 2008).
“Rarely, if ever, will it be improper for co-conspirators to be tried together.” United States v.
Drew, 894 F.2d 965, 968 (8th Cir. 1990).
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       Once it is determined that joinder is appropriate under Rule 8, Rule 14 of the Federal Rules
of Criminal Procedure specifies that the district court may nevertheless order separate trials if a
joint trial would “prejudice a defendant or the government.” Fed. R. Crim. P. 14. However,
severance is only required when the prejudice caused by a joint trial is “severe or compelling.”
United States v. Ruiz, 412 F.3d 871, 886 (8th Cir. 2005). A defendant seeking severance must
show that “real prejudice” would result from a joint trial. United States v. Davis, 534 F.3d 903,
916 (8th Cir. 2008). To make this showing, the defendant must establish that “(a) his defense is
irreconcilable with that of his co-defendant or (b) the jury will be unable to compartmentalize the
evidence as it relates to the separate defendants.” Id. at 916-17 (quotation omitted).


       Defendant does not argue that joinder of both defendants in the single indictment is
improper under Rule 8(b), as they are charged as co-conspirators and the offenses are based on the
same series of acts or transactions constituting an offense. Instead, Defendant argues that he would
be prejudiced by a joint trial due to the “overwhelming difference in the evidence against the two
defendants.” (Filing No. 58 at page 2). The Eighth Circuit has found that a properly joined co-
defendant was “not entitled to severance simply because the evidence against him was less
damaging than was the evidence against [his co-defendant].” United States v. Lewis, 557 F.3d
601, 610-11 (8th Cir. 2009). In doing so, the Eighth Circuit rejected the defendant’s argument that
the jury was unable to compartmentalize the evidence because there was more evidence of one
defendant’s guilt when compared to the co-defendant. See id.; see also United States v. Hively,
437 F.3d 752, 765 (8th Cir. 2006)(“Severance is never warranted simply because the evidence
against one defendant is more damaging than that against another, even if the likelihood of the
latter's acquittal is thereby decreased.”). When assessing the jury’s ability to compartmentalize
the evidence against joint defendants, the court should take into consideration the complexity of
the case and whether adequate jury instructions and admonitions can cure any potential prejudice.
See Lewis, 557 F.3d at 610.


       In this case, Defendant has failed to meet his burden to show a joint trial would be
prejudicial.   Defendant merely states, without support, that the jury will be unable to
compartmentalize the evidence. Even assuming there is more evidence against his co-defendant


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than against Defendant, “Disparity in the weight of the evidence as between . . . parties does not
entitle one to severance.” United States v. Pecina, 956 F.2d 186, 188 (8th Cir. 1992). Moreover,
this is not a particularly complex case. This is a single count Indictment for conspiracy to distribute
a controlled substance, and Defendant offers no evidence that any potential prejudice resulting
from a joint trial could not be cured by proper limiting instructions. See United States v. Faul, 748
F.2d 1204, 1217 (8th Cir. 1984)(concluding severance is only necessary “where the proof is such
that a jury could not be expected to compartmentalize the evidence as it relates to separate
defendants.”). Under the circumstances, Defendant’s motion to sever is denied.


       II.     Motion to Reconsider
       The undersigned magistrate judge previously denied Defendant’s motion to change venue
from Omaha to North Platte in an order dated June 1, 2018. (Filing No. 33). Defendant did not
object to that order. Defendant has now filed the instant motion to reconsider raising the same
arguments regarding inconvenience to himself, counsel, and witnesses. (Filing No. 28; Filing No.
29; Filing No. 60). Defendant now adds an additional argument that he will be deprived of his
right to a jury of his peers if the trial is not transferred to North Platte. Defendant argues that, as
half Lakota Sioux, a jury pool in western Nebraska will likely contain more of his peers than those
drawn in Omaha. (Filing No. 60).
       The Eighth Circuit has not set forth the appropriate standard for “motions for
reconsideration raised in criminal cases outside of the suppression context,” but recognizes that
other Circuits use the civil standard. United States v. Luger, 837 F.3d 870, 875 (8th Cir.
2016)(citations omitted). Generally, a civil motion to reconsider is used to “‘correct[] manifest
errors of law or fact or . . . present newly discovered evidence.’” Id. (quoting Bradley Timberland
Res. v. Bradley Lumber Co., 712 F.3d 401, 407 (8th Cir. 2013).
       Here, Defendant has presented no new evidence or demonstrated any manifest error
requiring the court to reconsider its denial of Defendant’s motion to change venue. Defendant’s
argument regarding the jury pool could have been raised in his initial motion. However, even
assuming Defendant had raised his argument in his initial motion, the factors set forth in Fed. R.
Crim. P. 18 still weigh in favor of keeping trial in Omaha rather than North Platte, for the reasons
stated in the Court’s previous order. See Filing No. 33. Accordingly,



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       IT IS ORDERED that Defendant Jordan Derockbraine’s Motion to Sever (Filing No. 57),
and Motion for Reconsideration (Filing No. 59) are denied.


       Dated this 23rd day of January, 2019.

                                                     BY THE COURT:

                                                     s/ Michael D. Nelson
                                                     United States Magistrate Judge




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